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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEVON ROBERT WEAVER            :                    CIVIL ACTION
                               :
     v.                        :
                               :
LEE ESTOCK, THE DISTRICT       :
ATTORNEY OF THE COUNTY OF      :
BERKS and THE ATTORNEY GENERAL :
OF THE STATE OF PENNSYLVANIA   :                    NO. 19-5430

                                         ORDER

      NOW, this 26th day of October, 2020, upon consideration of the Petition Under 28

U.S.C. § 2254 For Writ of Habeas Corpus By A Person in State Custody (Doc. No. 1), the

respondents’ response to the Petition, and the Report and Recommendation filed by

United States Magistrate Judge Timothy R. Rice (Document No. 10) , and no objections

to the Report and Recommendation having been filed, and after a thorough and

independent review of the record, it is ORDERED that:

      1.      The Report and Recommendation of Magistrate Judge Timothy R. Rice is

APPROVED and ADOPTED;

      2.      The Petition for Writ of Habeas Corpus is DENIED WITH PREJUDICE; and

      3.      There is no probable cause to issue a certificate of appealability.



                                          /s/ TIMOTHY J. SAVAGE J.
